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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
KYSS BURTON, BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND AND
SAKIA HALL,
Plaintiff,
Vv. Case No, 3:11-cv-00065-JRS
HAROLD FORD,
Defendant,

DEFENDANT’S OBJECTION TO PROCEEDING
BEFORE MAGISTRATE JUDGE

In accordance with the provisions of 28 U.S.C. §636(c), Federal Rule of Civil Procedure
73, and this Court’s Notice of Pretrial Conference, defendant Harold Ford, by counsel, states that
he does not waive his right to proceed before a United States District Court Judge and does not

consent to have a Magistrate Judge conduct further proceedings in the above-styled case,

HAROLD FORD

By Counsel

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CERTIFICATE

I hereby certify that on the 21st day of March, 2011, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

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